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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION


UUNITED STATES OF AMERICA,                           )    CASE NO.: 1:15-CV-01046
                                                     )
                 Plaintiff,                          )
       vs.                                           )    JUDGE SOLOMON OLIVER, JR.
                                                     )
CCITY OF CLEVELAND,                                  )
                                                     )    CITY OF CLEVELAND’S STATUS
                 Defendant.                          )    REPORT TO THE COURT RE:
                                                     )    OFFICE OF PROFESSIONAL
                                                     )    STANDARDS



 I.          Introduction

             On December 15, 2017 the City filed the “City of Cleveland’s Memorandum Outlining

 the Plan to Address Completion of Investigations by the Office of Professional Standards”

 (“Memorandum”). The goal established by the City and OPS in 2018 was to have OPS remain

 timely in completing the investigation of complaints received on and after December 1, 2017,

 while simultaneously working with an identified outside investigative contractor, Hillard-Heintz,

 to eliminate the identified backlog of unfinished OPS investigations associated with public

 complaints received in 2015, 2016, and 2017.

             This report will briefly address the progress to date in meeting these objectives and

 update the Court concerning the OPS Administrative staff and training undertaken in the first

 half of 2018.

 II.         OPS Administration

 Administrator

             Following a nationwide search the City filled the vacant OPS Administrator position.

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The new OPS Administrator is Roger Smith. Mr. Smith is a graduate of the University of

Southern California Law School (1998) and he received an M.A. in Public Affairs Reporting

(1995) and a B.A. in History from the University of Maryland College Park. Mr. Smith served

for three and a half years as an Assistant District Attorney in the New York County District

Attorney’s Office from 1998-2002. From August 2007 thru May 2016, Mr. Smith served as

Executive Agency Counsel for the New York City Civilian Complaint Review Board (“CCRB”),

where he also served as the Director of Training from December 2011 thru February 2015. In

this role Mr. Smith provided legal supervision to the CCRB’s Investigation Division staff and

lectured in report writing, interviewing and search and seizure law. While with the CCRB, Mr.

Smith made presentations concerning the CCRB to six New York Police Department graduating

classes under the auspices of the NYPD’s Cultural Immersion Program.

Senior Investigator

       As this Court was previously advised, the City funded new position, OPS Senior

Investigator, in the City’s 2018 OPS budget. The Senior Investigator reports to the OPS

Administrator and works directly with the OPS investigators in a supervisory capacity to address

the quality and completion of OPS investigations. Following a nationwide search, Mr. Henry

Roney was hired as the OPS Senior Investigator on May 7, 2018. Prior to assuming his current

position, Mr. Roney served 25 years as a Special Agent with the Naval Criminal Investigative

Service (NCIS) where he retired as the Inspector General. As a Special Agent Mr. Roney

investigated criminal, fraud, and counterintelligence offenses. Mr. Roney held supervisory and

senior leadership positions with NCIS to include, Supervisory Special Agent, Assistant Special

Agent in Charge, Special Agent in Charge and Assistant Director. Prior to his NCIS career, Mr.

Roney had been a commissioned officer in the United States Marine Corps where he served as a



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combat intelligence officer during Desert Shield/Storm. Mr. Roney is a 1983 graduate of Prairie

View A&M University, Texas, where he studied criminal justice and political science.

Community Engagement Coordinator

        The 2018 OPS budget also funded the new position of “Community Engagement

Coordinator.” The Community Engagement Coordinator will be tasked with working with the

public to keep the community informed on OPS activities. Posting for the position was closed on

April 13 and final interviews have been completed for this position. A candidate has been

identified to fill the position and the hiring process for the new coordinator position is presently

being completed. Examples of recent community engagement undertaken by the OPS

administrative staff have included informational and outreach meetings with the Legal Aid

Society and the NAACP.

Other

        OPS is in the process of working with the City’s Civil Service Commission to finalize the

revised job description to be associated with the new of OPS Research Analyst. Input associated

with the new position was received from the Monitor team.

        Mr. Tony Scott departed his position as OPS General Manager at the end of July to take a

new position with the City.

Staff Training

        A number of subjects have been addressed through the OPS staff training that has been

completed in 2018. Ongoing training completed by staff members in 2018 has focused on

improving the professional skills that will assist the OPS investigators in completing their

assigned investigative responsibilities. The training topics have included: conducting interviews,

report writing skills, use of force training, IA Pro manual training, the elements associated with



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reasonable Internal Affairs/OPS investigations, qualitative review of sustained cases, public

records request processing, and how electronic evidence is changing investigations. A new

investigative report template has been introduced and is now being used. Future training will

include four OPS staff members attending the NACOLE conference in St. Petersburg, Florida.

OPS will conduct a week of staff training on a variety of relevant topics in December, with

outside lecturers to include CDP leadership, university professors, community groups, and local

practitioners.

III.    OPS investigation of complaints received on and after December 1, 2017

        The OPS has a staff of eight permanent investigators and two temporary investigators

who are currently working on complaints received by OPS from the public during the period

December 1, 2017 to the present. As of August 8, OPS had received 142 new complaints during

this period. OPS has completed work on 85 of these new complaints. A breakdown of these

cases shows 55 cases were completed as the result of full investigations, 20 cases have been

administratively dismissed, with 10 cases having been administratively closed. As of August 8,

the OPS investigators were actively investigating 49 complaints, with 6 cases in the process of

transfer/ referral to the investigators and 2 cases awaiting initial assignment. Of the cases

remaining to be completed 19 remain open from 73 complaints received by OPS in the period of

December, 2017 to April, 2018, with the 38 remaining open files from the 69 complaints

received from May to the present.

IV.     The Backlog Investigation Completion Plan

        The City issued a public Request for Qualifications (“RFQ”) n January, 2018 for the

purpose of identifying a qualified private vendor who could provide the City with sufficient

investigative expertise to effectively complete the investigations associated with the existing



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2015-2017 backlog of OPS investigations. The use of an outside investigation firm to address

and eliminate the backlog would allow the full-time permanent and temporary OPS investigators

to direct their efforts to ensuring that investigations of public complaints received by OPS after

December, 2017 were kept current and accomplished in a timely manner.

Hillard-Heintze LLC

        As a result of the responses to the City’s RFQ, the Chicago based investigation firm

Hillard-Heintze, LLC was identified as the best qualified choice for completing the backlog

investigations. Given the coordination and complexities associated with involving an outside

firm in such a process, the overall work toward completing the identified backlog has been

divided to date into two phases.

Phase One

        The first phase of City’s interaction with Hillard Heintze has been completed and

involved the company conducting a comprehensive preliminary review and assessment of 282

backlogged investigations. Hillard Heintze met with OPS stakeholders to verify goals and case

review objectives before beginning this work. The company was able to define the current state

of the investigations and the anticipated level of effort that would be required to bring the cases

to completion. The 282 cases were assigned to one of four categories based on the contents of the

case files:

        (1)    Intake Only — primarily file reflecting receipt of a complaint, with minimal
               follow up and work completed; (17 cases)
        (2)    Data Collection — case intake materials provided in file, with some of the
               necessary data and materials having been collected; (55 cases)
        (3)    Partial Investigation — basic facts concerning allegation validated in file, with
               some officer and complainant follow-up documented; (144 cases)
        (4)    Mostly Completed — File reflects complaint interviews completed, factual
               validation, officer Form-1 questions asked and answered. (66 cases)




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       Hillard Heintze identified three main issues that influenced the quality of the backlogged

case files that it received. These included (1) the professional level of management of the

investigations, (2) the records documenting the investigations, and (3) whether the investigation

quality was to a professional standard. Many files were found lacking in one or more of these

categories. Based on the various factors contributing to the assessments of each file Hillard

Heintze graded the quality of the investigations on the backlogged files it received as follows:

               Excellent — 11 cases
               Good      — 51 cases
               Marginal — 145 cases
               Poor      — 71 cases

Based on its initial review of the OPS backlog files Hillard Heintze concluded that for a majority

of the cases the investigations would need to start from the beginning.

Phase Two

       Hillard Heintze subsequently worked with the City and OPS to establish an approach to

completing the backlogged investigations. The agreed upon approach will allow the company to

evaluate each case to determine whether sufficient evidence actually exists that would warrant

further investigation. This process will establish findings that will (1) support the closure of

those files where sufficient evidence does not exist to proceed further, and (2) inform the

appropriate future investigation action to be undertaken for those cases where the review has

established that sufficient evidence exists. It is anticipated that the use of a concurrent, focused

project management approach to address each backlogged complaint in this manner will ensure

the most effective and efficient use of resources. This phase of evidentiary review should be

completed in approximately thirty weeks. During this period Hillard Heintze will enter all cases

into the IAPro system to include the steps required to further investigate or close the backlogged

investigations in an effective, appropriate, and fiscally responsive manner. Completion of the

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necessary investigation work where sufficient evidence is found to exist will begin at the

conclusion of the evidentiary review process The terms of the contract associated with this

phase have been agreed to and the contract is currently being completed.

V.        Conclusion

          Much has been accomplished in the first part of the year as the City and OPS work to

meet the standard of professional service owed to both the public and the Cleveland Division of

Police.

                                                      Respectfully submitted,
                                                      Barbara A. Langhenry (0038838)
                                                      Director of Law

                                              By:     /s/ Gary S. Singletary
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                                     CERTIFICATE OF SERVICE

       The undersigned certifies that the “City of Cleveland’s Status Report to the Court Re:

Office of Professional Standards” was filed electronically on August 15, 2018. Notice of this

filing will be sent to all parties by operation of the Court’s electronic filing system. Parties may

access this filing through the Court’s system. Pursuant to the requirements of the Consent Decree

the Monitor Team has been delivered a copy of this filing.

                                                      /s/ Gary S. Singletary
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                                                      Counsel for the City of Cleveland




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